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Attorneys for Defendants,
Walmart Inc. and Jetson Electric Bikes, LLC

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING

STEPHANIE WADSWORTH                                 )
Individually and as Parent and Legal Guardian       )
of W.W., K.W., G.W., and L.W., minor children       )
and MATTHEW WADSWORTH,                              )
                                                    )       Case No. 2:23-cv-00118-NDF
       Plaintiffs,                                  )
                                                    )       DEFENDANT JETSON
v.                                                  )       ELECTRIC BIKES, LLC AND
                                                    )       WALMART INC.’S NOTICE OF
WALMART INC. and                                    )       ERRATA; EXHIBIT A
JETSON ELECTRIC BIKES, LLC,                         )
                                                    )
       Defendants.                                  )
                                                    )

       Defendants JETSON ELECTRIC BIKES, LLC AND WALMART INC., by and through

undersigned counsel, respectfully submit this Notice of Errata to Defendants Jetson Electric Bikes
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LLC and Walmart Inc.’s Motion for Summary Judgment; Memorandum in Support (ECF No. 99)

and Declaration of Eugene M. LaFlamme in Support of Motion for Summary Judgment (ECF No.

99-1), which were filed on December 2, 2024, to correct an inadvertent clerical error. Jetson

Electric Bikes LLC and Walmart Inc. inadvertently excluded sections of Exhibit 3 (ECF No. 99-

4), Exhibit 8 (ECF No. 99-9), Exhibit 10 (ECF No. 99-11) and Exhibit 11 (ECF No. 99-12) from

the filing.

        Attached to this Notice of Errata (as Exhibit “A”) is Defendant Jetson Electric Bikes LLC

and Walmart Inc.’s complete and corrected copy of the Declaration of Eugene M. LaFlamme in

Support of Motion for Summary Judgment with the complete exhibits attached. Jetson Electric

Bikes LLC and Walmart Inc. respectfully ask the Court to accept this Notice of Errata and consider

all exhibits in deciding the Motion for Summary Judgment in this matter.

                                             McCOY LEAVITT LASKEY LLC

                                             Attorneys for Defendants, Jetson Electric Bikes,
                                             LLC and Walmart Inc.


Dated: December 20, 2024                     By:
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                                   and

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